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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

LAZY DAYS’ R.V. CENTER, INC., et al.,! ) Case No. 09-13911 (KG)

Debtors. (Jointly Administered)

Ref. Docket No. | 24) } 4b

 

FINAL DECREE CLOSING THE DEBTORS’ CHAPTER 11 CASES PURSUANT TO
SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

 

Upon consideration of the motion (the “Motion”) of the above-captioned reorganized
debtors (collectively, the “Reorganized Debtors”) in the above-captioned chapter 11 cases (the
“Chapter 11 Cases”), pursuant to section 350(a) of the Bankruptcy Code,’ Bankruptcy Rule
3022, and Local Bankruptcy Rule 5009-1 seeking to close the Chapter 11 Cases; and the Court
having been satisfied that the Reorganized Debtors have consummated the Prepackaged Plan and
it appearing that the Reorganized Debtors’ estates have been fully administered; and the Court
having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.
§§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core
proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to

28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

 

! The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Lazy

Days’ R.V. Center, Inc. (4794); LD Holdings, Inc. (1834); LDRV Holdings Corp. (6915); and RV Acquisition Inc.
(1630). The location of the Debtors’ corporate headquarters and the service address for all Debtors is: 6130 Lazy
Days Boulevard, Seffner, Florida 33584-2968.

* Capitalized terms used herein and not otherwise defined shall have the same meaning ascribed to them in the

Motion.

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the Notice Parties, and no other or further notice being required; and the Court having found that
good and sufficient cause exists for granting the Motion, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. The cases of LD Holdings, Inc., No. 09-13910 (KG); Lazy Days’ R.V. Center, Inc.,
No. 09-13911 (KG); LDRV Holdings Corp., No. 09-13912 (KG); and RV Acquisition Inc., No.
09-13913 (KG); are hereby closed; provided that the Court shall retain jurisdiction as is provided
for in Article XII of the Prepackaged Plan (Retention of Jurisdiction).

3. Entry of this Final Decree is without prejudice to the rights of the Reorganized
Debtors or any party in interest to seek to reopen the Chapter 11 Cases for cause.

4. The Reorganized Debtors are authorized to take all actions necessary to effectuate
the relief granted pursuant to this Order in accordance with the Motion.

5. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014 or otherwise, the terms and conditions of this Order shall be immediately effective and
enforceable upon its entry. |

6. To the extent that this Order is inconsistent with any prior order or pleading with
respect to the Motion in these cases, the terms of this Order shall govern.

7. The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or gnforcement offis Order.

Dated: Agape 222010

Wilmington, Delaware

 

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